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 6   Attorneys for Plaintiffs,
     TIMOTHY S. BOSTWICK,
 7
     and MICHELE L. NESSIER
 8

 9
                          UNITED STATES DISTRICT COURT
10
                       NORTHERN DISTRICT OF CALIFORNIA
11

12
     TIMOTHY S. BOSTWICK, an                  CASE NO.: 3:21-cv-02560-LB
13
     individual; and MICHELE L.               Action Filed: January 22, 2019
14   NESSIER, an individual;
                                              Assigned for All Purposes to Hon.
15
                          Plaintiffs,         Laurel Beeler
16
                                              PLAINTIFF’S FRCP 26(a)
            v.                                (3) DISCLOSURES
17

18
     SETERUS, INC., a business entity; US
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     BANK, N.A., a business entity; SN    Trial Date:      December 18, 2023
20   SERVICING CORP., a business entity,
     and DOES 1 through 10, inclusive
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22
                          Defendants.
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27         Plaintiffs Timothy Bostwick and Michel Nessier (“Plaintiffs”) hereby submit
28   the following disclosures:
                                             1
                        PLAINTIFF’S FRCP 26(a)(3) DISCLOSURES
       Case 3:21-cv-02560-LB Document 170 Filed 09/28/23 Page 2 of 2


          (1) the name and, if not previously provided, the address and telephone
 1
              number of each witness—separately identifying those the party expects to
 2            present and those it may call if the need arises: Timothy Bostwick,
 3
              Michele Nessier, Melissa Bostwick, Simon Ward Brown and William
              Fogelman
 4
 5
          (2) the designation of those witnesses whose testimony the party expects to
              present by deposition and, if not taken stenographically, a transcript of the
 6            pertinent parts of the deposition: Plaintiffs do not intend to present any
 7            testimony via deposition.

 8        (3) an identification of each document or other exhibit, including summaries
              of other evidence—separately identifying those items the party expects to
 9
              offer and those it may offer if the need arises: Plaintiff intends to
10            introduce the following exhibits 24, 25, 26, 27, 28, 30, 31, 32, 42, 47, 48,
              100, 101, 102, 103, 104, 105, 106, 107, 108
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12
     DATED: September 28, 2023                     SHAPERO LAW FIRM, PC
13
14                                                   /s/ Sarah Shapero
                                                   _____________
15
                                                   SARAH SHAPERO
16                                                 Attorneys for Plaintiffs Timothy
                                                   Bostwick and Michele Nessier
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                       PLAINTIFF’S FRCP 26(a)(3) DISCLOSURES
